 Case 1:06-cr-00239-PLM          ECF No. 38, PageID.116           Filed 03/26/07      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                            Case No. 1:06-CR-239

KENNETH JAMES JOHNSON,                                        Hon. Richard Alan Enslen

               Defendant.

                                              /


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on March 26, 2007, after receiving the written consent

of the defendant, the defendant's attorney, and the attorney for the government. These consents were

also placed on the record in open court.

               Defendant Kenneth James Johnson is charged in Counts 1, 5, 6, 7, 8 and 9 of a multi-

count Indictment with distribution of crack cocaine, and conspiracy. On the basis of this record, I

found that defendant was competent to enter pleas of guilty and that his pleas were knowledgeable

and voluntary with a full understanding of each of the rights waived by the defendant, that the

defendant fully understood the nature of the charges and the consequences of his pleas, and that the

defendant's pleas had a sufficient basis in fact which contained all of the elements of the offenses

charged.




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 Case 1:06-cr-00239-PLM           ECF No. 38, PageID.117           Filed 03/26/07       Page 2 of 2




               There was no written plea agreement in this case, although the parties have agreed

that no supplemental information will be filed against defendant if he pleads guilty and does not go

to trial.

               I accepted the pleas of guilty, subject to final acceptance of the pleas by the District

Judge. I ordered the preparation of a presentence investigation report, and directed the clerk to

procure a transcript of the plea hearing for review by the District Judge.

                                         Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's pleas of

guilty to Counts 1, 5, 6, 7, 8, and 9 of the Indictment be accepted, and that the court adjudicate the

defendant guilty of those charges.



Dated: March 26, 2007                          /s/ Hugh W. Brenneman, Jr.
                                               Hugh W. Brenneman, Jr.
                                               United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten (l0) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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